
Upon consideration of the petition filed by Defendant on the 25th of March 2019 in this matter for a writ of certiorari to review the order of the Superior Court, Person County, the following order was entered and is hereby certified to the Superior Court of that County:
"Dismissed by order of the Court in conference, this the 11th of June 2019."
The following order has been entered on the motion filed on the 25th of March 2019 by Defendant to Proceed In Forma Pauperis:
"Motion Allowed by order of the Court in conference, this the 11th of June 2019."
The following order has been entered on the motion filed on the 25th of March 2019 by Defendant to Appoint Counsel:
"Motion Dismissed as moot by order of the Court in conference, this the 11th of June 2019."
